              Case 17-22515-GLT                      Doc 90          Filed 01/07/19 Entered 01/07/19 14:12:06             Desc Main
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 Fill in this information to identify your case:

 Debtor 1                 Clinton A Pohl
                          First Name                        Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF PENNSYLVANIA

 Case number           17-22515
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Farmers National Bank of                             Surrender the property.                     No
    name:              Emlenton                                             Retain the property and redeem it.
                                                                                                                        Yes
                                                                            Retain the property and enter into a
    Description of       295 Elm Street Pittsburgh, PA                      Reaffirmation Agreement.
    property             15237 Allegheny County                             Retain the property and [explain]:
    securing debt:



    Creditor's         Farmers National Bank of                             Surrender the property.                     No
    name:              Emlenton                                             Retain the property and redeem it.
                                                                                                                        Yes
                                                                            Retain the property and enter into a
    Description of       295 Elm Street Pittsburgh, PA                      Reaffirmation Agreement.
    property             15237 Allegheny County                             Retain the property and [explain]:
    securing debt:



    Creditor's         PA Department of Revenue                             Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of       295 Elm Avenue, Piitsburgh PA                      Reaffirmation Agreement.


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 Debtor 1      Clinton A Pohl                                                                         Case number (if known)    17-22515

    property            15237                                               Retain the property and [explain]:
    securing debt:



    Creditor's     The Huntington National Bank                             Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      2015 Doge Ram                                       Reaffirmation Agreement.
    property            Value based on KBB                                  Retain the property and [explain]:
    securing debt:      31,500-34,000


    Creditor's     The Mews of Town North                                   Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      295 Elm Street Pittsburgh, PA                       Reaffirmation Agreement.
    property            15237 Allegheny County                              Retain the property and [explain]:
    securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Part 3:     Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal

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 Debtor 1      Clinton A Pohl                                                                        Case number (if known)   17-22515

property that is subject to an unexpired lease.

 X     /s/ Clinton A Pohl                                                           X
       Clinton A Pohl                                                                   Signature of Debtor 2
       Signature of Debtor 1

       Date        January 3, 2019                                                  Date




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